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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
__________________________________________
                                           :
RYANAIR DAC,                               :
                                           : C.A. No. 1:20-cv-01191-WCB
                        Plaintiff,         :
                                           :
            v.                             :
                                           :
BOOKING HOLDINGS INC.,                     :
BOOKING.COM B.V., KAYAK SOFTWARE           :
CORPORATION, PRICELINE.COM LLC,            :
and AGODA COMPANY PTE. LTD.,               :
                                           :
                        Defendants.        :
__________________________________________:

                                    NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on the 13th day of December 2023, Plaintiff, Ryanair DAC,

served Plaintiff’s Notice of Deposition of Defendant Booking.com B.V. Pursuant to Federal Rule

of Civil Procedure 30(b)(6) on the below-listed counsel of record via electronic mail:


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Dated: December 13, 2023                        KRATZ & BARRY LLP

                                                /s/ R Touhey Myer
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